
USCA1 Opinion

	




                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ____________________          No. 94-1074                                   EDWIN F. ADAMS,                                     Petitioner,                                          v.                        U.S. ENVIRONMENTAL PROTECTION AGENCY,                                     Respondent.                                 ____________________                      PETITION FOR REVIEW OF AN ORDER ISSUED BY                  THE UNITED STATES ENVIRONMENTAL PROTECTION AGENCY                                 ____________________                                        Before                               Torruella, Chief Judge,                                          ___________                          Boudin and Stahl, Circuit Judges.                                            ______________                                _____________________               Richard A. Kanoff for petitioner.               _________________               Eileen   T.   McDonough,   Environmental  Defense   Section,               _______________________          U.S. Department of  Justice, with  whom Lois J.  Schiffer, Acting                                                  _________________          Assistant Attorney  General,  Environmental &amp;  Natural  Resources          Division,  Jeffry  T. Fowley,  Office  of  Regional Counsel,  and                     _________________          Stephen J. Sweeney, Office of General Counsel, U.S. Environmental          __________________          Protection Agency, were on brief for respondent.                                 ____________________                                   October 25, 1994                                 ____________________                    TORRUELLA,  Chief Judge.    Petitioner  Edwin F.  Adams                                ___________          requests  review  of final  action  taken  by the  United  States          Environmental Protection  Agency ("EPA" or "the  Agency").  Adams          challenges the  EPA's issuance of a  National Pollution Discharge          Elimination  System ("NPDES")  permit under  the Clean  Water Act          ("CWA" or  "the Act"), 33 U.S.C.    1251 et seq., for the Town of                                                   _______          Seabrook, New  Hampshire ("Seabrook").   The NPDES  permit allows          the  discharge of  effluent  from  Seabrook's proposed  municipal          wastewater treatment facility.  Adams alleges that the EPA failed          to comply with its obligations under the Ocean Discharge Criteria          of the  Act, 40 C.F.R.    125, Subpart M, which  require that the          EPA not  allow "unreasonable degradation"  from ocean discharges.          Adams  has  not persuaded  us that  he  was wrongfully  denied an          evidentiary  hearing or that  the Agency  otherwise erred  in its          treatment  of his  objections.   We  therefore  uphold the  final          action of the EPA and deny Adams' petition for review.                                    I.  BACKGROUND                                    I.  BACKGROUND                                        __________                    A.  General Overview                    A.  General Overview                    Seabrook has undertaken the construction of a municipal          wastewater  treatment  plant ("the  plant")  to resolve  problems          caused by  failing  septic  systems  within the  town.    Because          Seabrook's septic systems were failing, effluent was flowing into          Seabrook's  coastal waters.   This  condition increased  bacteria          levels  in the coastal waters, caused closure of coastal areas to          shellfishing, and restricted the use of  the waters for swimming.          Seabrook's  proposed  plant  would  collect  sewage  that   would                                         -2-          otherwise  be  released  from  septic systems  into  the  coastal          waters.                    The  plant, to  be  constructed on  Wright's Island  in          Seabrook, will consist of a collection and transportation system,          a  treatment facility,  an ocean  outfall, and  sludge processing          facilities.   The  plant will  discharge its treated  effluent in          approximately 30 feet of water, at  a distance approximately 2100          feet  from the Seabrook coastline,  about 1000 feet  north of the          New Hampshire/Massachusetts border.                    B.  The   Clean  Water  Act  Statutory  and  Regulatory                    B.  The   Clean  Water  Act  Statutory  and  Regulatory                        Framework                        Framework                    Congress enacted  the CWA "to restore  and maintain the          chemical,  physical, and  biological  integrity  of the  Nation's          waters"  through the  reduction and  eventual elimination  of the          discharge  of pollutants into these waters.  33 U.S.C.   1251(a);          Town of Norfolk  v. United  States Army Corps  of Engineers,  968          _______________     _______________________________________          F.2d 1438, 1445 (1st Cir. 1992).  Under the Act, no pollutant may          be emitted into  this nation's  waters unless a  NPDES permit  is          obtained.  Puerto Rico Aqueduct &amp; Sewer  Authority v. U.S.E.P.A.,                     _______________________________________    __________          Appeal No. 93-2340, slip op. at 2 (1st Cir. August 31, 1994); see                                                                        ___          33 U.S.C.    1311(a), 1342.                    NPDES  permits  are issued  by  the  EPA  or, in  those          jurisdictions in which the  EPA has authorized a state  agency to          administer  the NPDES program, by  a state agency  subject to EPA          review.   American Petroleum Inst.  v. E.P.A., 787  F.2d 965, 969                    ________________________     ______          (5th Cir. 1986); see 33 U.S.C.    1342.  NPDES permits contain 1)                           ___          effluent  limitations  that   reflect  the  pollution   reduction                                         -3-          achievable by using technologically  practicable controls, see 33                                                                     ___          U.S.C.      1311(b)(1)(A), 1314(b);  and  2)  any more  stringent          pollutant   release  limitations   necessary  for   the  waterway          receiving  the pollutant to meet  "water quality standards."  See                                                                        ___          33 U.S.C.    1311(b)(1)(C) and 1312(a).  See  also American Paper                                                   _________ ______________          Institute,  Inc. v.  U.S.E.P.A.,  996 F.2d  346,  349 (D.C.  Cir.          ________________     __________          1993).                    Additionally,  a NPDES  permit for  a discharge  into a          territorial  sea or  the ocean  must incorporate  Ocean Discharge          Criteria ("ODC").  33 U.S.C.    1343(a) and (c)(1).  See American                                                               ___ ________          Petroleum  Inst.,  787 F.2d  at 970.    The EPA's  ODC guidelines          ________________          require  it to determine, after considering  a number of factors,          whether a discharge will  cause "unreasonable degradation" of the          marine environment.  See  40 C.F.R.    125.120-125.124.   The EPA                               ___          will  not  issue an  NPDES permit  where  it determines  that the          discharge will  cause an  unreasonable degradation of  the marine          environment.   See  40 C.F.R.     125.123(b)-(d).   Discharges in                         ___          compliance with state water  quality standards "shall be presumed          not to cause unreasonable  degradation of the marine environment,          for  any  specific  pollutants  or conditions  specified  in  the          variance or the standard."  40 C.F.R.   125.122(b).                    C.  The Procedural Framework                    C.  The Procedural Framework                    An applicant initiates the  NPDES process when it files          a permit application providing information  regarding the planned          facility and its  proposed discharges.   See 40  C.F.R.    124.3.                                                   ___          The applicant must  also provide the EPA with  certification from                                         -4-          the state in  which the discharge originates.   33 U.S.C.   1341.          By its certification,  the state confirms that  the discharge, as          permitted,  assures  compliance with  all applicable  state water          quality standards  and,  if necessary,  specifies any  additional          effluent  limitations,  or  other  permit  conditions,  needed to          ensure compliance  with the state's water quality standards.  See                                                                        ___          id.; 40 C.F.R.   124.55.          __                    The EPA  then prepares  and issues a  draft permit  and          explanatory  fact  sheet.   See 40  C.F.R.     124.6,  124.8, and                                      ___          124.56.   The EPA gives  public notice, which  initiates a 30-day          public  comment period.   See  40 C.F.R.    124.10(a)(1)(ii)  and                                    ___          (b)(1).   During  the  public  comment period,  all  persons  who          believe any  condition of  a draft  permit is inappropriate  must          raise  all  reasonably  ascertainable  issues  and  arguments  in          support of  their positions.   40 C.F.R.    124.13.  During  this          period, any interested person  can request a public hearing.   40          C.F.R.    124.11.  After the  close of the public comment period,          the Regional  Administrator  determines whether  a  final  permit          should  be issued,  based on  the administrative  record compiled          during  the  public comment  period.   See  40 C.F.R.     124.15,                                                 ___          124.18.                    After  the  EPA  issues  a final  permit  decision,  an          interested party  may request  an evidentiary hearing  to contest          the resolution  of any questions raised during the public comment          period.  See 40  C.F.R.   124.74(a).  The  Regional Administrator                   ___          then grants or denies the request for a hearing.  See 40 C.F.R.                                                              ___                                         -5-          124.75(a)(1).                    If  a Regional  Administrator denies  a request  for an          evidentiary  hearing,  the  denial  becomes final  agency  action          within  thirty days unless an appeal is made to the Environmental          Appeals Board ("the  EAB").   See 40 C.F.R.     124.60(c)(5)  and                                        ___          124.91.   An  EAB  order  denying  review  renders  the  Regional          Administrator's  previous  decision  final.    See  40  C.F.R.                                                            ___          124.91(f)(1).   Finally, once  an EPA permit  decision has become          final, any  interested person may  obtain judicial review  of the          decision  by petitioning  for  review  in  the Circuit  Court  of          Appeals.  33 U.S.C.   1369(b)(1).                    D.  Seabrook's Permit Proceedings                    D.  Seabrook's Permit Proceedings                    In May 1988,  Seabrook applied for  an NPDES permit  to          allow the discharge of the  treated wastewater from its  proposed          plant  into the Gulf of Maine.  The EPA reviewed the application,          and on September 23,  1991, issued a draft permit  approving such          discharges.                    The  EPA determined that  the proposed  discharge would          not unreasonably  degrade the marine environment.   The EPA found          that the initial dilution and  rapid dispersion of the discharge,          combined with the anticipated lack of nonconventional pollutants,          would  make  bioaccumulation of  pollutants  unlikely.   The  EPA          therefore concluded that the various  forms of marine life  would          not be adversely impacted.  While the EPA recognized that a small          area  around  the  discharge site  would  have  to  be closed  to          shellfishing pursuant  to requirements of the  United States Food                                         -6-          and Drug  Administration, because  the Massachusetts  Division of          Marine Fisheries did not  consider this area to be  a significant          shellfish resource, the EPA concluded that this closure would not          represent  a significant loss of  use.1  The  EPA also noted that          the  construction  of  the  plant  could  eliminate most  of  the          closings   of  nearby   bathing  beaches  necessitated   by  high          concentrations  of coliform  bacteria  that were  believed to  be          caused by the failing septic systems in Seabrook.                    In early  September 1991, the EPA  established a public          comment period from September 25, 1991 through October 29,  1991,          and scheduled public  hearings for  October 22 and  23, 1991,  in          both  Seabrook  and Salisbury,  Massachusetts.    On October  23,          Adams,  who owns  a  beach-front  home  on  the  Gulf  of  Maine,          submitted  a written  comment  presenting eight  issues which  he          believed should be addressed.                    On  October  26,  1992,  the  State  of  New  Hampshire          certified  that the  Seabrook  permit was  consistent with  state          water quality standards.                    On November  13, 1992, the EPA  issued Seabrook's NPDES          final permit for the treatment  plant, after consideration of the          administrative  record,  including  the public  comments  and the          state certification.                    On December  16,  1992, Adams  filed a  request for  an          evidentiary  hearing with  the Regional  Administrator.   In this                                        ____________________          1    The closure  zone was  ultimately  limited to  New Hampshire          waters.                                         -7-          request, Adams raised several issues which he claimed established          material issues  of fact warranting an  evidentiary hearing under          40 C.F.R.   124.74.  Specifically, Adams contended that:                      1)    The   dilution  calculations   were                      incorrect and, even  if the  calculations                      were   correct,   the   public  was   not                      protected   from       viruses,   thereby                      violating 40 C.F.R.   125.122(6).                      2)  The outfall of the treatment plan, as                      designed, "is  not in the  best interests                      of  the  United  States or  the  Town  of                      Seabrook"    and    would    unreasonably                      depreciate the recreational value  of the                      beach   in  violation  of   40  C.F.R.                         125.121(e)(3), while benefitting only the                      few residents of Seabrook.                      3)   The closure of the  zone immediately                      around   the   outfall  to   shellfishing                      violated  a  New  Hampshire  law  and  40                      C.F.R.   125.122(7).                      4)   If the  permit was to  be issued, it                      should be amended  to include  conditions                      requiring  Seabrook  a)  to   post  signs                      warning  of the risk  of viral infection,                      and b) requiring that divers periodically                      inspect the manifold  for storm damage or                      other possible problems.                      5)   The state  permit issued by  the New                      Hampshire  Wetlands   Board  was  illegal                      under state law.                      6)   There was no evaluation of alternate                      locations for the outfall.                    On  January 5, 1993,  the Regional Administrator denied          Adams'  request for  a hearing  after concluding  that Adams  had          failed  to  raise material  issues of  fact  with respect  to his          various challenges, as required by 40 C.F.R.   124.75(a)(1).                    Adams  then  petitioned  the  EAB  for  review  of  the          Regional Administrator's denial of his request for an evidentiary                                         -8-          hearing.  The EAB denied the petition for review, concluding that          Adams had failed to  satisfy various procedural requirements with          respect  to raising  objections  to the  final permit,  including          failing to  raise issues  during the  public comment period,  and          failing  to  satisfy  pleading  requirements  and  raise material          issues of  fact which required  a hearing, in his  request for an          evidentiary hearing.                    Adams  now appeals  the Agency's  final action  to this          Court.                               II.  STANDARD OF REVIEW                               II.  STANDARD OF REVIEW                                    __________________                    Judicial review of the EPA's  action in issuing a NPDES          permit under the  Act is governed by provisions  set forth in the          Administrative Procedure Act ("APA"), 5 U.S.C.    701-706.  Under          the APA, the applicable  standard of review is whether  the EPA's          action  was "arbitrary,  capricious, an  abuse of  discretion, or          otherwise not in accordance with law."  5 U.S.C.   706(2)(A); see                                                                        ___          Puerto  Rico Aqueduct &amp; Sewer Authority, Appeal No. 93-2340, slip          _______________________________________          op. at 7;  Puerto Rico  Sun Oil Co. v. U.S.E.P.A., 8 F.3d  73, 77                     ________________________    __________          (1st Cir. 1993).  A court should not set aside  agency actions as          arbitrary  and  capricious unless  the  actions  lack a  rational          basis.  Caribbean Petroleum Corp. v. U.S.E.P.A., 28 F.3d 232, 234                  _________________________    __________          (1st Cir. 1994) (citations  omitted).  The scope of  review under          the "arbitrary and capricious"  standard is therefore narrow, and          a  court should  not  substitute its  judgment  for that  of  the          agency.  Caribbean Petroleum Corp., 28 F.3d at 234 (quoting Motor                   _________________________                          _____          Vehicles Mfrs. Ass'n v.  State Farm Mut. Auto Ins.  Co., 463 U.S.          ____________________     ______________________________                                         -9-          29, 43 (1983)).                    An  agency  is entitled  to  deference  with regard  to          factual questions involving scientific matters in its own area of          expertise.  Puerto  Rico Aqueduct &amp;  Sewer Authority, Appeal  No.                      ________________________________________          93-2340,  slip op. at 8 (citations omitted).  "Mixed questions of          law and  fact,  at  least  to the  extent  that  they  are  fact-          dominated,  fall under  this  rubric."   Id. (citation  omitted).                                                   __          Similarly,  we defer to  an agency's interpretation  of a statute          that it  is charged with  enforcing, and our  deference increases          when the agency interprets its own regulations.  Id.                                                           __                      Like  other   executive  agencies  acting                      within  their respective  bailiwicks, EPA                      is    due   substantial    deference   in                      interpreting  and implementing  the Clean                      Water  Act -- "so long as [its] decisions                      do not collide directly  with substantive                      statutory   commands   and  so   long  as                      procedural corners are squarely turned."          Caribbean Petroleum  Corp., 28 F.3d  at 234 (quoting  Puerto Rico          __________________________                            ___________          Sun Oil, 8 F.3d  at 77) (other citations omitted);  see generally          _______                                             ___ _________          Chevron  U.S.A. v.  Natural Resources  Defense Council,  467 U.S.          _______________     __________________________________          837, 842-45 (1984).                   III.  Adams' Claim That The EPA Failed To Comply                   III.  Adams' Claim That The EPA Failed To Comply                         __________________________________________                          With the Ocean Discharge Criteria                          With the Ocean Discharge Criteria                          _________________________________                    In  his  petition for  review,  Adams  claims that  the          Agency erred  when  it  denied his  request  for  an  evidentiary          hearing  with  respect  to  his contention  that  the  EPA failed          properly to consider the  ODC when it issued the NPDES permit for          the  Seabrook plant.  Specifically, Adams claims that 1) prior to          issuing  the permit, the EPA failed properly to evaluate a number                                         -10-          of  relevant factors,  including the location  and design  of the          outfall, dilution  limits, and  the impacts  of the  discharge on          human  health  and  recreational  uses;  2)  the  EPA  improperly          permitted   a  discharge  which   would  result  in  unreasonable          degradation; and  3)  the EPA  improperly issued  a NPDES  permit          without  considering local environmental conditions and without a          required modification/revocation clause.2 The  EPA  claims   that          the  EAB properly concluded that Adams failed adequately to raise          these various  contentions during  the public comment  period and          Adams therefore  has waived his right to  pursue these challenges          on their merits.                    In  reviewing  agency  action,  this  Court  will   not          consider  issues which a petitioner  failed to present during the          administrative process in accordance with the relevant procedural          requirements.   See, e.g., Massachusetts Dep't  of Public Welfare                          ___  ____  ______________________________________          v.  Secretary of Agriculture, 984 F.2d 514, 524 (1st Cir.), cert.              ________________________                                _____          denied,  114  S.  Ct.  81  (1993).    We  apply the  doctrine  of          ______          procedural  default  in  the  administrative  context because  it          serves three purposes which are relevant here:                                        ____________________          2  40  C.F.R.   125.123(d)  requires a clause  in a NPDES  permit          which  allows for the modification or revocation of any permit if          continued   discharge  causes  unreasonable   degradation.    The          regulation only  requires this  clause, however,  if the EPA  has          insufficient  information  to  determine  whether  there  will be          unreasonable degradation at the  time it issues the permit.   See                                                                        ___          id.;  40 C.F.R.    125.123(c).   While  this regulation  does not          __          appear  to apply to the Seabrook permit,  because the EPA did not          find  that it  had insufficient  information when  it issued  the          permit, Adams argues that the Seabrook permit should include such          a revocation/modification  clause.   Because Adams did  not raise          this  contention in his request for an evidentiary hearing, as we          will discuss, he has forfeited this claim.                                             -11-                      First, when the administrative  agency is                      given an opportunity to address a party's                      objections, it can  apply its  expertise,                      exercise  its  informed  discretion,  and                      create  a more  finely  tuned record  for                      judicial review. . . .                      A second reason for applying strict rules                      of    procedural     default    in    the                      administrative  context   is  to  promote                      judicial economy. . . .                       Finally,  enforcing  procedural   default                      solidifies   the  agency's   autonomy  by                      allowing  it  the opportunity  to monitor                      its  own  mistakes and  by  ensuring that                      regulated parties  do not simply  turn to                      the courts as a tribunal of first resort.          Id. at 523.          __                    As a preliminary matter,  we note that in  his petition          for review,  Adams has  meaningfully refashioned and  refined his          original  objections to  the  EPA's permitting  process which  he          raised  during the course of the administrative process.  When we          review Adams' claims,  we consider only the  objections he raised          during  the administrative process.3   See id. at  524; cf. Smith                                                 ___ __           __  _____          v.  Massachusetts Dept. of Corrections,  936 F.2d 1390, 1397 n.10              __________________________________          (1st Cir. 1991) (finding that arguments not advanced in the court          below  cannot be raised  for the  first time  on appeal).   These          original  objections, which  Adams continues  to advance  in this          appeal,  involve  several  issues  regarding  the  EPA's  alleged                                        ____________________          3   Adams' petition for  review to the  EAB similarly embellished          the objections he made in his original evidentiary request to the          Regional Administrator.   The EAB could not address these refined          objections for the first time  on Adams' appeal to it.  See In re                                                                  ___ _____          Matter of Broward County,  Florida,  NPDES Appeal No.  92-11, 18,          __________________________________          n.29  (1993).   ("the  lack  of  requisite   specificity  in  the          evidentiary hearing request cannot  be cured by providing greater          specificity, for the first time, on appeal.").                                         -12-          failure to properly evaluate the ODC:  the location and design of          the  outfall,  the  EPA's  calculation of  dilution  limits,  and          whether  the EPA properly considered the  impact of the discharge          on the public's health and shellfishing.4                    With respect to Adams'  contentions that the EPA failed          to comply with  ODC regulations  when issuing the  permit to  the          Seabrook plant, the Regional  Administrator concluded that  Adams          had failed  to raise issues  of material  fact having to  do with          outfall  location,  dilution  limits,   and  the  effect  of  the          discharge  on  health   and  shellfishing,  which  justified   an          evidentiary  hearing.    In  deciding  to  deny  review  of  this          decision,  the EAB found that  Adams had not  properly raised the          issue  of  ODC  compliance  during  the  public  comment  period.          Therefore, the EAB did not reach the question  of the adequacy of          Adams'  evidentiary   request.    Consequently,  we   must  first          determine whether  the Agency arbitrarily or  capriciously barred          Adams  from raising these issues because of a procedural default,          either  because he  failed  to raise  the  issues at  the  public          comment stage, or in his request for an evidentiary hearing.5                                        ____________________          4  In his  original evidentiary request, Adams also  claimed that          the state permit issued  by the New Hampshire Wetlands  Board was          illegal  under  state law.    The  Agency  denied Adams'  request          because  it  found  that this  was  an  issue  of  state law  not          appropriately  before the  EPA.   Adams does  not now  raise this          argument in his petition for review.            5  We note that by virtue of the EAB's denial of Adams'  petition          for   review,  the  Regional   Administrator's  initial  decision          constituted  final  agency action.   See  40 C.F.R.    124.91(f).                                               ___          Because the EAB premised its denial of review, in part, on Adams'          alleged failure to raise  the issue of the EPA's  compliance with          the  ODC  in  the public  comment  period,  and  because the  EPA                                         -13-                    A.  The Public Comment Period                    A.  The Public Comment Period                    When the  EPA  promulgated its  procedural  regulations          governing the public comment  period, the Agency anticipated that          most  policy and technical issues would be decided as part of the          public comment period, which is  the most open, accessible  forum          possible and  which comes at  a stage  where the  Agency has  the          greatest ability to modify a  draft permit.  44 Fed.  Reg. 32,885          (1979).  Pursuant to 40 C.F.R.   124.13,  "all persons . .  . who          believe  any condition of a draft permit is inappropriate or that          the Director's tentative decision to . . . prepare a draft permit          is inappropriate, must raise all reasonably  ascertainable issues          and submit  all reasonably available  arguments supporting  their          position by the close  of the public comment period," in order to          contest a final permit determination in an evidentiary hearing or          to preserve  an issue for  review by the  EAB.  Additionally,  40          C.F.R.   124.76 provides that "[n]o issues shall be raised by any          party that were not submitted to the administrative record  . . .          as  part of  the preparation  of and  comment  on a  draft permit          unless good cause is shown for the failure to submit them."                    These  regulations are  intended  to alert  the EPA  to          potential  problems with the draft  permit and to  ensure that it          has an opportunity  to address those  problems before the  permit          becomes final.  In  the matter of Broward County,  Florida, NPDES                          __________________________________________          Appeal  No. 92-11,  11  (1993).     The  regulations  essentially                                        ____________________          advances this as the grounds to uphold the Agency's final action,          we will address this contention.                                         -14-          require that:                       [c]omments must be significant  enough to                      step  over  a  threshold  requirement  of                      materiality  before  any  lack of  agency                      response  or   consideration  becomes  of                      concern.    The  comment   cannot  merely                      state that a  particular mistake was made                      .  . . ; it must show why the mistake was                      of possible significance in the results.          Vermont Yankee  Nuclear Power Corp. v.  Natural Resources Defense          ___________________________________     _________________________          Council,  435 U.S.  519,  553 (1978)  (citations omitted).   This          _______          threshold of materiality standard  is satisfied when comments are          presented in  a  way which  could reasonably  have permitted  the          agency  to  examine  those   contentions.    Northside   Sanitary                                                       ____________________          Landfill,  Inc.  v. Thomas,  849  F.2d 1516,  1520-21  (D.C. Cir.          _______________     ______          1988), cert. denied, 489 U.S. 1078 (1989).6                 ____________                    When construing this standard, it must be considered in          the context  of the  broad  purpose of  the public  participation          rules.        Public    participation     in    the                        development,       revision,      and                        enforcement   of    any   regulation,                        standard, effluent  limitation,  plan                        or   program   established   by   the                                        ____________________          6  While in  some circumstances a petitioner's burden  to present          its  challenges  will  be  straightforward  and  fairly  easy  to          satisfy, it should be noted that a petitioner's responsibility to          present its position and  contentions becomes heavier when asking          an  applicant  for a  permit  or  an agency  to  "embark upon  an          exploration of uncharted  territory."  Citizens for Clean  Air v.                                                 _______________________          U.S.E.P.A., 959 F.2d  839, 846-47 (9th  Cir. 1992) (finding  that          __________          EPA's  decision that  petitioner failed  to satisfy  threshold of          materiality  standard  was  correct,  when  petitioner  requested          applicant  to  consider recycling  as  a  best available  control          technology,  which   involved  "uncharted  territory,"   and  the          petitioner's  suggestion   alone,   which  lacked   specific   or          quantifiable  support, could require  the applicant  to undertake          time-consuming costly studies); see Vermont Yankee Nuclear Power,                                          ___ ____________________________          435 U.S.  at 553.  Here, Adams' objections do not present such an          exploration of uncharted territory.                                            -15-                        Administrator or any State under this                        chapter   shall   be  provided   for,                        encouraged   and   assisted  by   the                        Administrator and the States.          33 U.S.C.   1251(e).  Congress enacted public participation rules          understanding that "these regulations would  do more than pay lip          service to public participation;  instead '[t]he public must have          a genuine opportunity to speak on the issue of protection of  its          waters'  on federal, state and local  levels."  Natural Resources                                                          _________________          Defense Council, Inc. v. U.S.E.P.A., 859 F.2d 156, 177 (D.C. Cir.          _____________________    __________          1988)  (citations  omitted)   (construing  public   participation          regulations  in state  enforcement  process).    The  legislative          history of the CWA also echoes the desire "that its provisions be          administered and enforced in a fishbowl-like atmosphere."  Id. at                                                                     __          175 (citing Environmental Policy Division, Congressional Research          Service, Library of Congress, A Legislative History of the  Water          Pollution Control Act Amendments of 1972, at 249).                    We  believe  that the  EAB's  determination that  Adams          failed  properly  to  raise  his  concerns  regarding  the  EPA's          compliance  with the ODC during the public comment period was not          supported by the evidence and lacked a rational basis.  A careful          review of the record indicates that  Adams and other participants          in the public comment period submitted statements which satisfied          the threshold requirement  of materiality by alerting  the EPA to          their concern that the  EPA had not adequately complied  with the          mandates  of the  ODC  when it  issued the  draft  permit to  the                                         -16-          Seabrook plant.7   In his written comments to  the EPA during the          public comment period, Adams raised the following concern:                      The E.P.A. has not carried out the intent                      of  Congress  in  relation  to  the Water                      Quality  Act of  1987, Public  Law 100-4,                      125-122,   125-123,    125-124,   227-27.                      Therefore, it is impossible for  the Town                      to comply with the intent of Congress.          With his references to the public laws, Adams specifically refers          to the ODC.  Additionally, Adams' written comments  indicate that          he challenged the  design and  location of the  outfall, and  the          accuracy of information presented by the Town engineers regarding          the  outfall.    Adams   also  questioned  whether  the  dilution          calculations  were  correct.   Finally, Adams,  as well  as other          participants, raised  concerns about  the detrimental  impact the          outfall would have  on the  beaches, and on  shellfish and  other          marine life.                    The public comments do not present technical or precise          scientific  or legal  challenges  to specific  provisions of  the          draft  permit.     The   purpose  of  the   regulation  requiring          participants to  raise ascertainable  issues, however, is  not to          foreclose participation  in the process, but to provide notice to          the EPA so that  it can address issues in the early stages of the          administrative process.  See  44 Fed. Reg. 32,885 (1979);  In the                                   ___                               ______          Matter of  Broward County,  Florida, NPDES  Appeal No.  92-11, 11          ___________________________________                                        ____________________          7  The regulations require that in order to preserve an issue, it          must be  raised by any party  during the comment period.   See 40                                                                     ___          C.F.R.    124.76.   The  person filing  the petition  for review,          however,  does not  necessarily  have to  be  the individual  who          raised the  issue during the  comment period.   In the Matter  of                                                          _________________          Broward County, Florida, NPDES Appeal No. 92-11, 11-12 (1993).          _______________________                                         -17-          (1993).  It  would be  inconsistent with the  general purpose  of          public  participation  regulations  to  construe  the regulations          strictly.   Such a strict  construction would have  the effect of          cutting  off a participant's ability  to challenge a final permit          by  virtue of imposing a  scientific and legal  burden on general          members  of the public who, initially, simply wish to raise their          legitimate  concerns regarding  a wastewater  facility  that will          affect  their  community, in  the  most  accessible and  informal          public  stage  of  the  administrative process,  where  there  is          presumably some room for give and take between the public and the          agency.    We  believe  that Adams  and  the  other  participants          adequately  raised their  objections  during the  public  comment          period,  and conclude that the  EAB ignored the  record and acted          arbitrarily and capriciously when it found that  Adams had failed          to do so.8                    B.  Adams' Request for an Evidentiary Hearing                     B.  Adams' Request for an Evidentiary Hearing                     1.  Procedural Requirements                    1.  Procedural Requirements                    Procedurally,  the  evidentiary  hearing   process  was          designed to  address "contested factual  issues" requiring cross-                                        ____________________          8    Following the  public comment  period,  the Agency  issued a          "Response to Comments" as required by  40 C.F.R.   124.17.   This          regulation  requires  that  the  agency  "[b]riefly describe  and          respond to all  significant comments on  the draft  permit . .  .          raised during the  public comment period  . . .  ."  40 C.F.R.             124.17.   In this response, the  EPA stated that it  had in fact,          assessed relevant dilution limits and the Seabrook plant's impact          on  shellfishing,  the  impact   on  beaches,  and  health  risks          associated with the discharge.   The EPA also responded  that the          outfall location and the proposed level of effluent treatment met          existing EPA  criteria and standards.   Despite Adams' contention          to the  contrary, this response,  in light of  the nature of  the          public comments, was entirely adequate.                                         -18-          examination.  44 Fed. Reg. 32,885 (1979).  As we stated  earlier,          following  the EPA's  issuance of  a final  permit, the  relevant          regulations  allow  a  participant  to  request  an  adjudicatory          hearing.   The  regulations have  specific pleading  requirements          mandating  that requests  "state each  legal or  factual question          alleged  to  be  at issue,  and  their  relevance  to the  permit          decision,  together with  a designation  of the  specific factual          areas  to be  adjudicated and  the hearing  time estimated  to be          necessary  for   adjudication."     40  C.F.R.      124.74(b)(1).          Additionally, the request shall contain "[s]pecific references to          the contested permit conditions, as  well as suggested revised or          alternative permit conditions . . . which in the judgment of  the          requester,  would  be  required  to implement  the  purposes  and          policies of the CWA."  40 C.F.R.   124.74(c)(5). B  e  y  o  n  d          satisfying these pleading requirements,  40 C.F.R.   124.75(a)(1)          requires  that  requests for  an  evidentiary  hearing set  forth          "material issues of fact relevant to the issuance of the permit."          The  EPA has  construed  this regulation  as  an   administrative          summary  judgment  standard, and  has  required  an applicant  to          present a genuine  and material  factual dispute in  order to  be          entitled  to an evidentiary hearing.  We have recently upheld the          EPA's  construction   of  this   regulation,  finding   that  the          regulations  "lawfully can  be  read to  incorporate this  binary          test,  featuring  genuineness  and  materiality."    Puerto  Rico                                                               ____________          Aqueduct and Sewer Authority, Appeal No. 93-2340, slip op. at 10.          ____________________________          In applying this standard, we noted that  Fed. R. Civ. P. 56  "is                                         -19-          the prototype for administrative summary judgment procedures, and          the jurisprudence that has grown up around Rule 56 is, therefore,          the  most  fertile  source  of information  about  administrative          summary judgment."  Id. at 15.                              __                    2.  The Substantive Law                    2.  The Substantive Law                    In order  to determine what facts are material, we must          look  to the controlling substantive law.  See, e.g., Anderson v.                                                     ___  ____  ________          Liberty Lobby, Inc.,  477 U.S. 242, 248 (1986)  ("[o]nly disputes          ___________________          over facts that  might affect the  outcome of the suit  under the          governing  law  will  properly  preclude  the  entry  of  summary          judgment.").    Pursuant  to  the ODC  regulations,  the  EPA  is          required to determine whether a discharge will cause unreasonable          degradation  of  the   marine  environment.    See  40  C.F.R.                                                            ___          125.123.9   Alternatively, discharges  in compliance with  "State                                        ____________________          9   The EPA  determines whether  or not  a  discharge will  cause          unreasonable  degradation   based  on  a  consideration   of  the          following:                        1)    The  quantities,  composition,  and                      potential bioaccumulation or  persistence                      of the pollutants to be discharged;                      2)   The   potential  transport   of  the                      pollutants  by  biological, physical,  or                      chemical processes;                      3) The composition  and vulnerability  of                      potentially       exposed      biological                      communities,  including  the presence  of                      unique species or communities of species,                      endangered  or  threatened  species;  and                      species  critical  to  the  structure  or                      function of the ecosystem;                      4)  The importance of the receiving water                      area   to   the  surrounding   biological                      communities,  including  the presence  of                      spawning  sites,  nursery/forage   areas,                                         -20-          water  quality   standards  shall   be  presumed  not   to  cause          unreasonable  degradation  of  the marine  environment,  for  any          specific pollutants  or conditions  specified in the  variance or                                        ____________________                      migratory  pathways, areas  necessary for                      critical  life stages and functions of an                      organism;                      5)   The  existence  of  special  aquatic                      sites,   including  marine   sanctuaries,                      parks,  monuments,   national  seashores,                      wilderness areas, and coral reefs;                      6) Potential direct  or indirect  impacts                      on human health;                      7) Existing or potential recreational and                      commercial fishing;                      8)  Any  applicable  requirements  of  an                      approved Coastal Zone Management Plan;                      9) Such  other  factors relating  to  the                      effects   of  the  discharge  as  may  be                      appropriate;                      10) Marine water quality criteria.          See  40 C.F.R.    125.122(a).  "Unreasonable degradation"  of the          ___          marine environment is defined as any of the following:                      1)   Significant   adverse   changes   in                      ecosystem  diversity,  productivity,  and                      stability  of  the  biological  community                      within   the   area   of  discharge   and                      surrounding biological communities;                      2) Threat to human health  through direct                      exposure   to   pollutants   or   through                      consumption of exposed aquatic organisms;                      or                      3)    Loss  of  aesthetic,  recreational,                      scientific  or  economic values  which is                      unreasonable in relation  to the  benefit                      derived from the discharge.            40 C.F.R.   125.121(e)(1-3).                                         -21-          the standard."  40  C.F.R.   125.122(b).  While  this presumption          is  rebuttable,  the  EPA is  entitled  to  rely  upon it  unless          available data  indicates that a  discharge would  in fact  cause          unreasonable degradation.  45 Fed. Reg. 65,945 (1980).                    In this case, the State of New Hampshire certified that          the degradation  caused by the Seabrook plant was consistent with          New Hampshire water  quality standards.   The EPA  relied on  New          Hampshire's certification in issuing Seabrook's final permit.                    3.  Adams' Evidentiary Request                    3.  Adams' Evidentiary Request                    In  his  evidentiary  hearing  request, Adams  had  the          burden to  point to evidence  in the administrative  record which          would rebut the presumption that the discharge from  the Seabrook          plant would not  cause unreasonable degradation.  See, e.g., A.C.                                                            ___  ____  ____          Aukerman Co. v.  R.L. Chaides  Constr. Co., 960  F.2d 1020,  1037          ____________     _________________________          (Fed.  Cir. 1992).  In his request, Adams challenged the location          and design of  the outfall  and the calculation  of the  dilution          limits, and  claimed that the permitted  discharge would threaten          human  health and  cause  a significant  shellfish closure  zone.          Adams did not point to any evidence in the record which indicated          that New Hampshire erroneously granted its certification, or that          the EPA  could not rely  on this certification  because available          data  indicated that the discharge from the plant would, in fact,          cause  unreasonable degradation  of the  marine environment.   We          hold  that the  EPA did  not act  arbitrarily or  capriciously in          finding  that  each  of Adams'  challenges  failed  to present  a          genuine  issue  of material  fact showing  that  the EPA  was not                                         -22-          entitled to rely on the regulatory presumption.                    In   what   follows,   we   address   Adams'   specific          contentions,  showing  why   each  individually  is  procedurally          deficient.10                       a.  The Outfall Design and Location                      a.  The Outfall Design and Location                    In his request foran evidentiary hearing, Adams stated:                      This outfall  as designed  is not in  the                      best  interests of  the United  States or                      the Town  of Seabrook.   If for  no other                      reason  the  permit should  be  denied on                      this basis.  It simply is not in anyone's                      interest to have the people of the United                      States  swimming  in sewerage water  even                      if  has  been  bleached   so  as  to   be                      invisible.                      If there were any benefit to this outfall                      at all it would  only be to the residents                      of Seabrook who  would use the  sewer and                      cared not about  the Beach  or the  beach                      environment.  There certainly would be no                      benefit  to citizens of  the rest  of the                      United  States,  but  on   the  contrary,                      anyone that used the beach would be  more                      at  risk to  viral diseases  or just  the                      knowledge   of   swimming  in   filth  is                      certainly no benefit and compared  to the                      cleanliness that exists at the beach now,                      the  depreciation  of recreational  value                      (as  in 40  C.F.R.    125.121(3))  is not                      reasonable  in  relation  to   the  small                      benefit to a few.                                        ____________________          10   In his evidentiary hearing request, Adams requested that two          conditions, warning signs and visual inspections, be added to the          permit.  Adams does not appear to advance that contention here in          his  petition for review.  With respect to this request, however,          we  do not  believe that the  Agency arbitrarily  or capriciously          concluded that the inclusion  of these permit conditions was  not          within  the scope  of  issues raised  during  the public  comment          period, and that Adams failed to establish that he had good cause          for not raising both of these issues at the appropriate time.                                         -23-          Adams also claimed  that the EPA  failed to consider  alternative          sites for this outfall.   In response, the Regional Administrator          denied Adams' request, explaining that Adams had failed  to raise          a genuine issue of material fact regarding outfall location which          justified an evidentiary hearing.   The EAB did not  then disturb          this determination.11                    The Agency  did not act arbitrarily  or capriciously in          denying  Adams'  request  for  an evidentiary  hearing.    Adams'          evidentiary  request is  completely bereft  of any  references to          facts in the record which would  create a "genuine" issue that  a          discharge   from  the  planned   outfall  location   would  cause          unreasonable degradation  of the marine  environment, which would          be sufficient to rebut the regulatory presumption.  Rather, Adams          offered a conclusory opinion that  the outfall, as designed,  was          not in the best interest of Seabrook or the United States because          it  was not  in  anyone's interest  to  have people  swimming  in                                        ____________________          11   In his petition for  review, Adams does not  appear to argue          that the EPA's alleged failure to consider  alternative sites for          the  outfall  was  in  itself  a  violation  of  any  statute  or          regulation.   We note, however,  that the Agency  stated that the          EPA  is not required to evaluate alternative sites for an outfall          that meets CWA requirements  unless review is required  under the          National  Environmental Policy  Act  ("NEPA").   See 33  U.S.C.                                                             ___          1371(c); 42 U.S.C.   4321  et seq.  Adams did not  challenge this                                     _______          determination.  There also does not appear to be any dispute that          the Seabrook permit is exempt  from the NEPA requirements because          no  federal funding  is involved  in the  plant, and  because the          plant  is not  a new source  as defined  in the  CWA. See Natural                                                                ___ _______          Resources Defense  Council, Inc. v. U.S.E.P.A., 859 F.2d 156, 167          ________________________________    __________          (D.C. Cir.  1988).  Because  the EPA  had no legal  obligation to          consider alternative  locations for  the outfall involved  in the          permit, the  Agency did not  act arbitrarily  or capriciously  in          finding  that no  genuine issue  of material  fact was  raised by          Adams' objection that the EPA did not consider such locations.                                         -24-          sewage.  This is  not sufficient to warrant a  formal evidentiary          hearing.                    Adams also suggested that  the EPA erred because, based          on  the  planned  outfall   location,  the  depreciation  of  the          recreational  value  was  not   reasonable  in  relation  to  the          benefits,  referring  to    40  C.F.R.     125.121(e)(3).    This          regulation  partially defines  unreasonable  degradation  of  the          marine  environment as  the  "[l]oss  of esthetic,  recreational,          scientific or  economic values which is  unreasonable in relation          to the benefit  derived from the discharge."  Id.  Adams' request                                                        __          for  a  hearing, however,  simply  tracked  the language  of  the          regulation   and  stated   his   ultimate  conclusion   that  the          depreciation  of the  recreational  value was  not reasonable  in          relation to the benefits.   The only rationale Adams  offered for          this conclusion was the  unsupported statement that there can  be          no benefit to  anyone when people would be swimming  in filth and          subjected  to  a  greater risk  of  viral  diseases.   Adams  has          completely  failed to  point  to any  evidence  showing that  the          proposed discharge from the  outfall would cause the loss  of any          recreational value,  much less evidence that  would indicate that          there was a "genuine" factual dispute  that such a loss would  be          unreasonable in relation to  the benefits to be derived  from the          discharge.  See 40 C.F.R.   125.121(e)(3).  We agree with the EPA                      ___          that  Adams has  not  tendered any  evidence  which on  its  face          creates a genuine issue  of material fact showing that  the EPA's          reliance  on the state certification was improper, and we believe                                         -25-          that the EPA properly  denied the requested hearing.   See, e.g.,                                                                 ___  ____          Puerto Rico Aqueduct &amp; Sewer Authority, Appeal No. 93-2340, slip.          ______________________________________          op. at 20-24. b.  The Dilution Calculations                        b.  The Dilution Calculations                    Adams contends that the  Agency should have granted his          request  for an evidentiary hearing  on the issue  of whether the          EPA properly calculated the  dilution limits of the effluent.   A          generous reading of Adams'  evidentiary request indicates that he          believed that the EPA  improperly calculated dilution limits and,          because of  these improper calculations, the  EPA failed properly          to consider the effect of viruses on marine life and the viruses'          indirect effect on humans.  Additionally, Adams claimed that even          if the  EPA properly calculated  the dilution  limit, the  Agency          still failed to  evaluate the  effect of viruses.   Adams  stated          that this was a direct violation of 40 C.F.R.   125.122(6), which          required the rescission of the entire permit.                    The  Regional  Administrator   denied  Adams'   request          because he failed to raise a genuine issue of material fact.  The          EAB did not disturb this finding.                    As a  preliminary matter, as we  have previously noted,          the EPA relied on  the New Hampshire state certification  when it          issued the  Seabrook  permit.    When Seabrook  applied  for  its          permit, the  New Hampshire  Department of  Environmental Services          analyzed the  draft  permit to  ensure that  the permit  effluent          conditions  were stringent  enough to  assure that  the discharge          would  not  violate state  water  quality  standards, which  were          designed to protect public  health and recreational activities in                                         -26-          and  on  the water.    See N.H.  Code  Admin. R.  [N.H.  Dept. of                                 ___          Environmental Services,  Water Supply  &amp; Pollution  Control Div.]          Env-Ws 430.01 (1990) (stating  that New Hampshire's water quality          standards are "intended to protect public health and welfare" and          provide  for  "the  protection  and  propagation  of  a  balanced          indigenous population  of  fish,  shellfish,  and  other  aquatic          organisms and wildlife, and provide for such uses as recreational          activities  in and on the waters").  The New Hampshire Department          of Environmental Services  then concluded that if  the permit was          modified to  incorporate a maximum daily total  coliform limit to          be  measured  on a  daily  basis,  state certification  would  be          granted.   According  to  the state  certification, the  mandated          coliform limit was necessary because the affected water was "used          for  the growing or  taking of shellfish  for human consumption."          The EPA  then incorporated the  required coliform limits  when it          issued the final permit.                    The EPA did not act arbitrarily or capriciously when it          found  that Adams  failed to show  why the EPA's  reliance on New          Hampshire's certification, which provided for coliform limits  to          protect the  public's health,  was inadequate.   Adams  failed to          point to data in  the record which established that  the proposed          discharge  would cause  unreasonable  degradation  of the  marine          environment, because  the discharge  would threaten  human health          through  direct or  indirect  pathways, through  the presence  of          viruses.    See    40  C.F.R.      125.122(a)(6),  125.121(e)(2).                      ___          Rather,  Adams  simply believed  that  the  EPA should  establish                                         -27-          effluent  limits  for viruses  as  an  alternative or  additional          measure to protect human  health.  The EPA pointed  out, however,          that New  Hampshire regulates  coliform bacteria as  an indicator          for  the presence of human wastes, and this limit was designed to          protect  the  designated uses  of  swimming,  fishing, and  other          recreational purposes.   Additionally, the Regional Administrator          noted that:  "[i]t is EPA's judgment that attempting to establish          a separate virus effluent limit here would be inadvisable due to,          among other things, problems in detection relating to their small          size, low concentrations, variety and instability in the presence          of   interfering   solids,   and   limits   on  availability   of          identification methods."  The EPA found, and we agree, that Adams          did  not point to any  evidence from which  a decisionmaker could          find  that the State of New Hampshire failed properly to evaluate          the discharge's effect on human health because it did not require          effluent limits for viruses.                    To  support  his  statement  that  the  EPA  improperly          calculated dilution limits,  Adams relied on a  September 4, 1991          letter from Martin Dowgert,  a Regional Shellfish Specialist with          the FDA  to Mr. Richard Roach of the U.S. Army Corps of Engineers          ("the FDA  letter"),  which  was  a part  of  the  administrative          record.12   The  FDA  letter calls  for  the establishment  of  a                                        ____________________          12  Specifically, in his evidentiary request, Adams stated:                      As  it  is  generally  accepted  and also                      pointed out in a certain letter  from the                      F.D.A.  to a Mr. Richard Roach  . . . the                      remedy to high virus populations  is very                      high dilutions (1/l,000,000,000) or more.                                         -28-          larger safety  zone closed  for shellfishing around  the proposed          treatment  plant  outfall, and  an  area  subject to  conditional          closure in the event  of plant disinfection failure.   To support          his  opinion  that a  larger safety  zone  needed to  be created,          Dowgert stated that based on the FDA's  preliminary assessment, a          shellfish  closure zone would occur  in an area  represented by a          1000:1 dilution line, and this  zone would be an area  4,000 feet          from the outfall.  Adams claimed  that this reference was at odds          withdilution limitsused by theEPA, whichAdams failedto specify.13                    The EPA did  not construe Adams'  reference to the  FDA          letter  as raising a genuine issue of material fact regarding the          dilution limits, noting  that the FDA did not  call for the NPDES          permit to be denied,  or for a revision of any  term of the NPDES          permit.   We do  not believe that  this finding  was arbitrary or          capricious  because   Adams  did   not  show  how   this  alleged          miscalculation   was  material   to   the   permitting   process.          Subsequent  to   the  FDA   letter,  New  Hampshire   issued  its                                        ____________________                      The  letter in  the above  paragraph also                      estimates that a  1/1,000 dilution  would                      not  occur  until  4,000  feet  from  the                      manifold where as the beach  is only 1200                      feet at low tide  when the dilutions  are                      apt to be lowered.          13   In his evidentiary request,  Adams also stated that no study          was  done with  respect  to the  effect  of viruses  on  children          playing in  the water at the beach "which will contain only 318.5          parts water to each part of filth laced with viruses."  Adams did          not  provide any citation as  to where this  dilution figure came          from or how it was arrived at.  We  do not believe that this bare          statement  was sufficient  to  create a  genuine factual  dispute          which  would require a formal evidentiary hearing on the issue of          dilution calculations.                                         -29-          certification after  evaluating the effects of  the discharge and          concluding that if its maximum coliform limits were incorporated,          the discharge  would satisfy state  water quality criteria.   The          EPA then  incorporated those limits, requiring  that the Seabrook          plant comply with them.   Adams did not point to anything  in the          FDA letter  which called  into question New  Hampshire's mandated          coliform limits.  Rather,  Adams claimed that the  EPA originally          miscalculated dilution limits,  but then failed to show  what the          effects of  the alleged miscalculation  were, or how  the alleged          miscalculation affected the New Hampshire certification process.                      c.  The Shellfish Closure Zone                      c.  The Shellfish Closure Zone                    In  his  evidentiary  request,  Adams  stated  that the          planned  closure  of   a  small  area   around  the  outfall   to          shellfishing was  contrary to  New Hampshire law,  which provides          that  it is  for the  public  good of  the state  to protect  and          preserve   its   submerged   lands  under   tidal   waters   from          despoliation.   See RSA  482-A:1 (1993).14   Beyond this  alleged                          ___                                        ____________________          14  R.S.A. 482-A:1 (1993),  New Hampshire's Water Management  and          Protection law, provides in pertinent part:                      It is found to be for the public good and                      welfare  of this  state  to  protect  and                      preserve its submerged lands  under tidal                      and fresh waters . . .  from despoliation                      and unregulated  alteration, because such                      despoliation  or  unregulated  alteration                      will  adversely affect the  value of such                      areas   as   sources  of   nutrients  for                      finfish,    crustacea,   shellfish    and                      wildlife   of  significant   value,  will                      damage    or    destroy   habitats    and                      reproduction areas for  plants, fish  and                      wildlife  of importance,  will eliminate,                      depreciate  or   obstruct  the  commerce,                                         -30-          violation of  state law, Adams argued that  because New Hampshire          "has a very small and limited total area for shellfish beds . . .          a loss  of a very  small area is  a significant net  loss," which          would therefore  be unlawful  under 40 C.F.R.    125.122(a)(7).15          To  support his contentions,  Adams seemed to  rely indirectly on          the  FDA  letter, which  suggested that  the  size of  the closed          safety zone should extend to an area 4,000 feet from the outfall.                    The Regional Administrator denied Adams' request on the          grounds that he  only raised conclusory policy  and legal issues,          rather  than  specifying  material  factual disputes  which  were          entitled to  consideration in  an evidentiary  hearing.   The EAB          concurred.                    We do not  believe that the Agency acted arbitrarily or          capriciously  in  denying  Adams'   request.    Adams  again  has          challenged the EPA's reliance on the New Hampshire certification,          which was issued after New Hampshire  determined that the state's                                        ____________________                      recreation and aesthetic enjoyment of the                      public, will be  detrimental to  adequate                      groundwater levels, will adversely affect                      stream  channels  and  their  ability  to                      handle the runoff of waters, will disturb                      and   reduce   the  natural   ability  of                      wetlands to absorb flood waters and silt,                      thus increasing general flood  damage and                      the silting of  open water channels,  and                      will   otherwise  adversely   affect  the                      interests of the general public.          15    40  C.F.R.    125.122(a)(7)  provides  that  the EPA  shall          determine whether a discharge will cause unreasonable degradation          of the marine environment based on the consideration  of existing          or  potential  recreational  and  commercial  fishing,  including          shellfishing.                                           -31-          water  quality  standards,  which   protect  the  commercial  and          recreational  value of  shellfishing, would  not be  contravened.          See N.H.  Code Admin. R.  [N.H. Dept. of  Environmental Services,          ___          Water Supply  &amp; Pollution  Control Div.]   Env-Ws 430.01  (1990).          Adams'  claim that the  discharge as permitted  is unlawful under          RSA 482-A:1,  represents a  disagreement with  the  State of  New          Hampshire's ultimate legal conclusion that the discharge from the          Seabrook plant would  be lawful under specific provisions  of New          Hampshire's  law.    Adams   failed  to  indicate  what  specific          provision of law New Hampshire ignored or ill-considered.   Adams          also failed to point to any evidence  showing that a provision of          New Hampshire law was, in fact, violated.                    Adams next argues that the shellfish closure zone would          cause an unreasonable degradation of the marine environment under          40 C.F.R.    125.122(a)(7).   To  establish  that this  shellfish          closure  zone would  constitute  an  "unreasonable  degradation,"          Adams would need to show that the closure zone produced a loss of          recreational  or  economic  values  which  was  "unreasonable  in          relation to the benefit  derived from the discharge."   40 C.F.R.            125.121(e)(3).   Adams attempted to  show this by  offering his          conclusory opinion that because New Hampshire had a limited total          area  for shellfish  beds,  the  closure  of  any  area  must  be          "significant."   Adams  failed to  point to  any facts,  however,          which showed  that the  closure zone  would cause  a loss of  any          recreational or economic  value, much less  that such an  alleged          loss would be unreasonable in relation to associated benefits.                                         -32-                    We  do  not  believe  that the  FDA  letter  materially          supported  Adams' contention.   The  FDA letter  stated that  the          shellfish  closure zone  needed  to extend  4,000  feet from  the          outfall.  The FDA  letter, however, does not expressly  state, or          otherwise suggest, that such a  closure zone would constitute  an          unreasonable  degradation  of the  marine  environment.   See  40          ____________                                              ___          C.F.R.     125.121.(e).   The  EPA  did  not  act arbitrarily  or          capriciously  in determining  that Adams  had  failed to  raise a          genuine  issue of  material fact  which justified  an evidentiary          hearing.                    For the foregoing reasons, Adams petition is denied.                                                                 ______                                         -33-

